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 8                              UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA

10   CUNG LE, NATHAN QUARRY, JON FITCH,
     on behalf of themselves and all others similarly       Case No. 14-cv-05484 EJD
11   situated,
                                         Plaintiffs,
12                   v.

13   ZUFFA, LLC., d/b/a Ultimate Fighting                   NOTICE OF APPEARANCE OF
     Championship and UFC,                                  MICHAEL C. DELL’ANGELO
14                                  Defendants.

15
            PLEASE TAKE NOTICE THAT Michael C. Dell’Angelo (mdellangelo@bm.net) of
16
     Berger & Montague, P.C., hereby enters his appearance as counsel on behalf of Plaintiffs Cung
17
     Le, Nathan Quarry, and Jon Fitch in the above-captioned action, and requests that copies of all
18
     future notices, pleadings and other documents filed in this action be provided to him via the
19
     Court’s ECF system. The Court has granted Mr. Dell’Angelo’s pro hac vice application on
20
     December 29, 2014 (Dkt. 11).
21
       Dated: January 7, 2015                           Respectfully submitted,
22
                                                        BERGER & MONTAGUE, P .C.
23
                                                        By: /s/ Michael C. Dell’Angelo
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